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                       IN THE UNITED STATES DISTRICT COURT
                                    OF OREGON
                                   AT PORTLAND



ANDREA OLSON
(PLAINTIFF)

v.                                                    CASE NO 3:15-CV-2216-SI

MBO PARTNERS INC
(DEFENDANT)
                                       Motion for Recusal

       Andrea Olson (Olson), Plaintiff, in the above-captioned case, respectfully moves that the
United States District Court Judge Michael H. Simon (Judge Simon) recuse himself from this
case on the following grounds:
       28 U.S. Code§ 455 (a) Any justice, judge, or magistrate judge of the United States shall
disqualify himself in any proceeding in which his impartiality might reasonably be questioned.
       1) Judge Simon has substantial involvement in community organizations such as the
American Civil Liberties Union (ACLU) of Oregon and Classroom Law Project. Judge Simon
serves on the Board of Directors for Classroom Law Project along with the Defendant's law
firm, Davis Wright and Tremaine LLP. Honorable Simon's past employer, Perkins Coie LLP is
also listed as a board member and a sponsor.
       28 U.S. Code§ 455 (5) He or his spouse, or a person within the third degree of
relationship to either of them, or the spouse of such a person:
       (iii) Is known by the judge to have an interest that could be substantially affected by the
outcome of the proceeding; Judge Michael H Simon is married to Congresswoman Suzanne
Bonamici who has an interest in Energy Issues. Most recently, Congresswoman Bonamici
supported the Energy and Water Development and Related Agencies Appropriations Act, 2017
which provides appropriations for the Power Marketing Administrations, including the
Bonneville Power Administration (BPA) Fund. In addition, she personally participated in a
reenactment of President Franklin D. Roosevelt signing the Bonneville Project Act that created
BPA, which was part of a 75th year celebration held September 15, 2012 at the Bonneville Lock
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and Dam. This event was attended by thousands. Bonneville Power Administration (BPA) is a
party in this case but the federal Equal Employment Opportunity Commission (EEOC) process
administratively prevents Olson from amending this case adding BPA at this writing.
        Oregon Code of Judicial Conduct RULE 3 IMPARTIAL AND DILIGENT
PERFORMANCE OF JUDICIAL DUTIES
        Rule 3.2 Ensuring the Right to be Heard -A judge shall accord to every person who has a
legal interest in a proceeding, or to that person's lawyer, the right to be heard according to law.
Judge Simon is aware that due to Olson's medical condition/disability, Olson is unable to
represent as prose. Olson had verbally requested the court's assistance in obtaining counsel for
months and was granted several extensions to allow more time for Olson to obtain legal counsel.
After being turned down again close to the date of Judge Simons's last extension with no further
ones permitted, Olson again requested help via letter to Judge Simon's court clerk on June 30,
2016. Olson's medical condition/disability was and is still impacting Olson's ability to represent
prose. Without Judge Simon or his staff engaging with Olson in the interactive process, her
request for help was denied. Under the law, a request for reasonable accommodation does not
require the specific words to be used. In his denial, Judge Simon stated he didn't think Olson's
case was so complex that Olson could not represent herself. This is not true. Olson's case is
very complex and Olson is still in need of legal counsel/help. In addition, Judge Simon
referenced indigence. Olson's letter dated June 30, 2016 did not indicate indigent status.
Olson's right to be heard was not ensured by Judge Simon.
        Rule 3.3 Impartiality and Fairness - (A) A judge shall uphold and apply the law and
perform all duties of judicial office, including administrative duties, fairly, impartially, and
without bias or prejudice. Judge Simon denied Olson counsel. And as stated in the opening
paragraph, Judge Simon is on the Classroom Law Project's Board of Directors, a position shared
by his former employer and the Defendant's law firm, making his involvement in Olson's case a
conflict of interest.
        C) A judge shall not take any action or make any comment that a reasonable person                 r
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would expect to impair the fairness of a matter pending or impending in any Oregon court. It has          Ii
been documented that it is not a violation of this rule for a judge to make reasonable                    "
accommodations to ensure pro se litigants the opportunity to have their matters heard fairly and
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impartially. Further, it is Olson's understanding that Oregon has a rule-based code, meaning that

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if it is not prohibited, it is allowed. Judge Simon took action on Olson's request for help finding
legal counsel by denying Olson's request without engaging with Olson in an interactive process.
       Rule 3.4 External Influences on Judicial Conduct - (B) A judge shall not permit family,
social, political, financial, or other interests or relationships to improperly influence the judge's
judicial conduct or judgment. Judge Michael Simon is married to Congresswoman Suzanne
Bonamici and she holds an active interest in Energy Issues.
       Petitioner respectfully moves that the Honorable Michael H. Simon remove and
disqualify himself as judge, and another judge assigned to hear and try all matters in this case.


                                                       Respectfully submitted,




(space below this line intentionally left blank)
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                                            Affidavit of Andrea Olson

STATE OF OREGON
COUNTY OF MULTNOMAH

The undersigned, ANDREA OLSON, being duly sworn, hereby deposes and says:

     1. I am over the age of 18 and am a resident of the State of Oregon. I have personal knowledge of
        the facts herein, and, if called as a witness, could testify completely thereto.

    2. I am not an attorney and I am still in need of legal counsel.

    3. I believe that I cannot have a fair and impartial trial or hearing before the judge, and that it is
       made in good faith and not for the purpose of delay

I declare that, to the best of my knowledge and belief, the information herein is true, correct, and
complete.

Executed this   1 (., ~   day of __~_1.-1_(.;l'+O=----' 20     I~ .
 d~
Andrea Olson

                                        NOTARY ACKNOWLEDGEMENT

STATE OF OREGON, COUNTY OF MULTNOMAH:

This Affidavit was acknowledged before me on this 2(., ei- day of      T v.. hf              , 2 o I G. by
Andrea Olson, who, being first duly sworn on oath according to law, deposes and says that he/she has
read the foregoing Affidavit subscribed by him/her, and that the matters stated herein are true to the
best of his/her information, knowledge and belief.



                      OFFICIAL STAMP                   Motary Public
                ROBERT BENJAMIN FALCHI
                  NOTARYPUBIJC.OREGON
                  COMMISSION NO. 950391              &Y3ovval f!>a11ke-r-JT
            MY COMMISSION EXPIRES MAY 09, 2020
                                                       Title (and Rank)

                                                  My commission expires    0   ~/ o 1/2--0 Z-o




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                                                                                                             ,'.
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                               CERTIFICATE OF SERVICE


On July 26, 2016, I, Andrea Olson, Plaintiff, am serving Plaintiffs Motion for Recusal hand-
delivered to 7th floor for Honorable Michael H. Simon as well as email and regular U.S. Mail to
Ms. Mooney and Ms. Walker:

Hand-delivered to 'Jfh floor:
Honorable Michael H. Simon
Mark 0. Hatfield United States Courthouse
Room 1327
1000 Southwest Third Avenue
Portland, OR 97204-2944

Email and Regular U.S. Mail:
Jenna L. Mooney, Esq.
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Portland, OR 97201-5610




                                                    Andrea Olson
